J. Stephen Simms
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SIMMS SHOWERS LLP
201 International Circle, Suite 250
Baltimore, Maryland 21030
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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                         CASE NUMBER
MONTEMP MARITIME LTD
                                                                                                      14-4625
                                                          Plaintiff(s)
                                 v.
HANJIN SHIPPING CO., LTD
                                                                          APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                TO APPEAR IN A SPECIFIC CASE
                                                       Defendant(s).                   PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS
(1) Complete Section I of this Application, sign the certification in Section II, and have your designated Local Counsel sign in Section III;
    note that electronic signatures are not accepted. Space to supplement your responses is provided in Section IV. Attach a Certificate
    of Good Standing (issued within the last 30 days) from every state bar to which you are admitted. Scan the completed and signed
    Application, with attachment(s), to a single Portable Document Format (PDF) file.
(2) Have your Local Counsel e-file your Application, using the Court's CM/ECF System, and submit a Proposed Order (using Form G-64
    ORDER, available from the Court's website).
(3) Submit payment in the amount of $325 for each case in which you file an Application. Payment may be submitted at the time of
    e-filing through Pay.gov, or by delivering payment to the Clerk's Office (Attn: Fiscal) with a copy of the e-filed Application. If your
    payment is not received within 5 days of the filing of your Application, your Application may be rejected. You will not be allowed to
    participate as an attorney of record in this case until your payment is received.
SECTION I - INFORMATION
Simms, J. Stephen
Applicant's Name (Last Name, First Name & Middle Initial)
Simms Showers LLP
Firm Name
201 International Circle                                                    410-783-5795                      410-510-1789
Suite 250                                                                   Telephone Number                   Fax Number
Street Address
Baltimore, Maryland 21030                                                   jssimms@simmsshowers.com
City, State, Zip Code                                                                             E-Mail Address
I have been retained to represent the following parties:
                                                                         Plaintiff      Defendant         Other:
MONTEMP MARITIME LTD                                                     Plaintiff      Defendant         Other:
 Name(s) of Party(ies) Represented

List all courts to which you have been admitted and the current status of your membership:
                 Name of Court                         Date of Admission         Active Member in Good Standing? (if not, please explain)
Maryland Court of Appeals                            12/20/1985               Yes - Certificate Herewith
U.S. District Court for Dist of Maryland             8/16/1985                Yes




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List all cases in which you have applied to this Court for pro hac vice status in the previous three years:
         Case Number                              Title of Action                                      Date of Application                    Granted / Denied?
2:14-cv-04625-R-FFM            Onirato Navigation Ltd v. SRI Lalitha                       6/24/2014                                          Granted
2:14-cv-08205-SVW-VBK          Chemoil Middle East DMCC v. Gulf Marine                     10/24/2014                                         Granted
14-839-PA-FFM                  Cronos Containers Ltd v. Winland Shipping                   2/5/2014                                           Granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
 None




Have you previously registered as a CM/ECF user in the Central District of California ?                                  Yes            No
If yes, was your CM/ECF User account associated with the e-mail address provided above?                                  Yes            No:


                                                                                              Previous E-Mail Used (if applicable)

You must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court
signs an Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you
identified above will be associated with your case. Pursuant to Local Rule 5-3.2.2, registering as a CM/ECF User is deemed consent, for
purposes of Fed. R. Civ. P. 5(b)(2)(E), to electronic service of documents through the CM/ECF System. You have the right to withhold or
revoke your consent to electronic service at any time; simply complete and return a Central District Electronic Service Exemption Form
(Form G-05, available from the Court's website). If the Court receives an Electronic Service Exemption Form from you, you will no
longer receive notice by e-mail when Court orders or other documents are filed in cases in which you are counsel of record; instead,
copies of such documents will be sent to you through the mail.

 SECTION II - CERTIFICATION

I declare under penalty of perjury that:
(1) All of the above information is true and correct.
(2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
    professional, or other activities in the State of California.
(3) I am not currently suspended from and have never been disbarred from practice in any court.
(4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
    and the Federal Rules of Evidence.
(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
    maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
    Rule 83-2.1.3.4.
               Dated August 31, 2016                     J. Stephen Simms
                                                          Applicant’s Name (please type or print)
                                                                                                     Digitally signed by J Stephen Simms
                                                                                    Digitally signed by J. Stephen Simms
                                                                                                     DN: cn=J Stephen Simms, o, ou,
                                                                                    DN: cn=J. Stephen Simms, o=Simms Showers LLP, ou,
                                                                                    email=jssimms@simmsshowers.com, c=US
                                                                                                     email=jssimms@simmsshowers.com, c=US
                                                                                    Date: 2014.06.23 13:01:44 -04'00'
                                                                                                     Date: 2016.08.31 19:10:03 -04'00'
                                                          Applicant’s Signature

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